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 5   Attorney for Defendant
     MICHAEL PAUL THOMPSON
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 7
 8                             IN THE UNITED STATES DISTRICT COURT
 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11
     UNITED STATES OF AMERICA,                              Cr. S-08-169 EJG
12
                            Plaintiff,                      STIPULATION AND [PROPOSED]
13                                                          ORDER RE: VACATION OF STATUS
                                                            CONFERENCE AND EXCLUSION OF
14          vs.                                             TIME UNDER SPEEDY TRIAL ACT
15   MICHAEL PAUL THOMPSON,
                                                            Hon. Edward J. Garcia
16
                            Defendant(s).
17
18                                            STIPULATION
19          Plaintiff, United States of America, by and through its counsel, Assistant United States
20   Attorney Jason Hitt, and defendant Michael Paul Thompson, by and through his counsel, Hayes
21   H. Gable III, agree and stipulate to vacate the existing hearing date in the above-captioned action,
22   March 26, 2010. The reason for this request is that the matter is set for trial on May 24, 2010,
23   and for trial confirmation hearing on May 7, 2010. It is the defendant’s intention to change his
24   plea at the trial confirmation hearing. Further, the March 26th status conference was requested by
25   co-defendant Soria, whose matter has previously been continued to another date.
26          The Court has previously excluded time to May 24, 2010, for commencement of trial
27   under the Speedy Trial Act, based upon the interest of justice under 18 U.S.C. §
28   3161(h)(7)(B)(iv) and Local Code T4, to allow continuity of counsel and to allow reasonable
     time necessary for effective presentation. The parties agree and stipulate that the exclusion of
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 1   time is proper.
 2                     Accordingly, the parties respectfully request the Court adopt this proposed
 3   stipulation.
 4
 5   IT IS SO STIPULATED
 6   DATE: March 25, 2010
 7                                                                   s/Hayes H. Gable, III
                                                                    HAYES H. GABLE, III
 8                                                                  Attorney for Defendant
                                                                    MICHAEL PAUL THOMPSON
 9
10   DATE: March 25, 2010
                                                                     s/Hayes H. Gable, III for
11                                                                  JASON HITT
                                                                    Asst. U.S. Attorney
12
13                              ORDER FINDING EXCLUDABLE TIME
14           For the reasons set forth in the accompanying stipulation and declaration of
15   counsel, the above-entitled action is continued to May 7, 2010 at !0:00 a.m. for trial
16   confirmation hearing and change of plea. The court finds excludable time in this matter from
17   the filing of this stipualtion, through May 24, 2010, under 18 U.S.C. § 3161(h)(7)(B)(iv) and
18   Local Code T4, to allow continuity of counsel and to allow reasonable time necessary for
19   effective presentation. For the reasons stipulated by the parties, the Court finds that the interest
20   of justice served by granting the requested continuance outweigh the best interests of the public
21   and the defendant in a speedy trial. 18 U.S.C. 3161(h)(8)(A), (h)(8)(B)(iv).
22   IT IS SO ORDERED.
23
24   DATE: 3/25/2010
25                                                          /s/Edward J. Garcia
                                                            HON. EDWARD J. GARCIA
26                                                          U.S. District Court Judge
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